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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------------- X
SAMIRA SIERRA, AMALI SIERRA,
RICARDO NIGAGLIONI, and ALEX GUTIERREZ,
individually and on behalf of all others similarly situated,

                                    Plaintiffs,
          v.

CITY OF NEW YORK, a municipal entity; BILL DE BLASIO,                                 20-cv-10291
in his individual capacity; DERMOT F. SHEA, in his individual                         (CM)(GWG)
capacity; TERENCE A. MONAHAN, in his individual capacity;
UMID KARIMOV, in his individual capacity; ALFREDO JEFF,
in his individual capacity; DEBORA MATIAS, in her individual
capacity; and ANDRE JEANPIERRE, in his individual capacity,
KENNETH C. LEHR, in his individual capacity,

                                     Defendants.
--------------------------------------------------------------------------------- X
CHARLES HENRY WOOD, on behalf of himself
and all others similarly situated,

                                    Plaintiff,
          v.
                                                                                      20-cv-10541
CITY OF NEW YORK, a municipal entity; and
                                                                                      (CM)(GWG)
BILL DE BLASIO, TERENCE A. MONAHAN,
JULIO DELGADO, THOMAS MOSHER, THOMAS
GARGUILO, and ISMAEL HERNANDEZ CARPIO, in their
individual capacities,

                                     Defendants.
--------------------------------------------------------------------------------- X




  MEMORANDUM OF LAW IN SUPPORT OF SIERRA AND WOOD PLAINTIFFS’
MOTION FOR LEAVE TO FILE AN AMENDED AND CONSOLIDATED COMPLAINT
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                               PRELIMINARY STATEMENT

       The Sierra and Wood plaintiffs seek leave to file a consolidated amended complaint that

joins the plaintiffs together in one merged action. The existing claims in both cases are

substantially similar and consolidating the cases will facilitate motion practice and trial. The

newly-consolidated case will have a unitary class definition, which will reduce the number of class

certification motions across the consolidated protest actions; and the consolidated case will seek

only money-damages. Finally, certain defendants will be dropped, and others added, based on

evidence obtained in discovery. That evidence revealed certain existing defendants were only

“assigned” the plaintiffs’ arrests, while a group of high-ranking and supervisory NYPD officials

personally planned and executed the NYPD’s unconstitutional and violent response to the Mott

Haven protest, which is the subject of these two lawsuits.

       The proposed Consolidated and Amended Complaint (“Proposed Complaint”) is attached

as Exhibit 1 to the accompanying Declaration of Rob Rickner. All exhibits referenced in this

memorandum are attached to the same declaration. The Causes of Action alleged in the Proposed

Complaint are identical to those in the currently operative Sierra First Amended Complaint.

Dkt. 98. The Proposed Complaint does not request declaratory relief as requested in the Sierra

First Amended Complaint. See No. 20 Civ. 10291 Dkt. 139 (So Ordered Stipulation to Dismiss

Sierra Plaintiffs’ Request for Declaratory or Injunctive Relief). The amendments in the Proposed

Complaint will require no additional discovery beyond what is already contemplated by the parties.

       The City would not stipulate to the addition of new defendants, but it did not express any

objection to the other proposed amendments when presented with a substantially similar proposed

amended complaint. The City objected to the timing of adding these new defendants, but those

objections are meritless – and they ignore the fact that depositions of high-ranking NYPD officials

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have barely begun, and the City’s singular responsibility for delaying the production of discovery

that revealed the personal involvement of these proposed defendants.

       The proposed amendments are supported by justice and good cause. Merging these cases

will facilitate the efficient progress of this litigation without causing any additional burden or any

prejudice to defendants. Accordingly, the Court should grant this motion.

                             STATEMENT OF RELEVANT FACTS

       The Sierra and Wood cases are putative class actions stemming from the NYPD’s response

to a protest on June 4, 2020, in the Mott Haven neighborhood of the Bronx. The NYPD’s Mott

Haven operation was unique among the incidents at issue in the In Re: New York City Policing

During Summer 2020 Demonstrations cases. Unlike other protest incidents, the Mott Haven

operation was both planned in advance and personally directed on the ground by the very highest

levels of the NYPD – including Chief of Department Terence Monahan, the highest-ranking

uniformed officer in the NYPD. The Mott Haven operation was also unique because of the large

number of officers (over 700) and other police resources deployed in advance. It resulted in the

mass arrest of approximately 300 people, the largest mass arrest of 2020’s racial justice protests.

The NYPD seized the Mott Haven protesters en masse before the 8:00 p.m. curfew took effect,

held the protesters until after 8:00 p.m., and then assaulted and arrested them, and charged them

with violating the curfew.

       I.      The Mott Haven Protest

       The Mott Haven event was a traditional protest called by several community-based

organizations in the Bronx and advertised in advance. It began in the early evening with an orderly

gathering at The Hub, a major intersection in the South Bronx. The rally was followed by a

peaceful march through the Mott Haven neighborhood, passing through public housing

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developments and stopping to express support for a local business on Willis Avenue. Police

estimates of the size of the crowd ranged from approximately 150 at The Hub, to 400 people in

the march. The crowd size estimates and the route of the march are taken from contemporaneous

police radio transmissions, Exhibit 2.

       Exhibit 3 are maps of the area of the rally, march, and arrests. The arrows show the route

of the march; a red oval and a red “X” show two lines of NYPD bike officers, as described below.

       During the rally and march there was no violence; no property was damaged; no police

officer was attacked or assaulted; no one was arrested. Proposed Compl. ¶¶ 1-2, 9, 56-60, 72, 185.

For approximately forty-five minutes, the police permitted the march to proceed in the roadway,

taking whatever route they wished; police did not order the marchers to disperse, nor issued any

other instructions to them. Id. ¶¶ 9, 66. At one point, while marchers were on Willis Avenue, a

police dispatcher asked, “is the group peaceful? disorderly?”; and the response was, “They’re not

disorderly yet.” Exhibit 2 at 16:15; Exhibit 4, Excerpt of DOI interview transcript of defendant

Lehr, pages 45-46.

       Although the march was peaceful and the curfew hadn’t started yet, and even though the

police had given no direction to protesters to disperse or cease the march, NYPD Chiefs in

command of the operation twice directed officers to seize the protesters before the 8:00 p.m.

curfew. Proposed Compl. ¶¶ 59-68. The first attempt was unsuccessful because the protesters

turned away from a confrontation with the police; the second resulted in the mass arrest. Id.

       Initially, NYPD Chiefs directed SRG bike units to form a line blocking the ramp off of the

Willis Avenue Bridge at East 135th Street (shown in red oval on map below). Id.; see also Exhibit 5,

Email from A.C.C. Braun; Exhibit 2 at 24:00. Other SRG foot-officer units were directed to fall



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in behind the marchers to encircle them on Willis Avenue as they proceeded beyond 136th Street

toward the bike line at 135th Street. Proposed Compl. ¶ 59.




It was 7:50 p.m. when the following radio transmissions were broadcast:

       Captain Taylor, have your guys come up with me, I’m at 137 and Willis heading
       south, so we can block ’em in.

       Ten four.

       Gotta be advised, there are, they’re approaching us at 135 right now, we’re setting
       up a line.

       Alright, Chief, we’re gonna set up a line behind ’em.

       Ten four.

       Captain Taylor, get your guys to the rear of the march here with me.

       Ten four, (…) coming now (…) be there in a second.




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Exhibit 2, at 30:35.1

       As marchers ascended the incline on Willis Avenue between 137th and 136th Streets, the

line of officers blocking the ramp off of the Willis Avenue Bridge at 135th Street came into view.

So, avoiding any confrontation with those officers, the marchers turned east onto 136th Street (red

arrow in map above, Exhibit 3), the only other available route. Proposed Compl. ¶ 59. With the

police blocking Willis Avenue at East 135th Street, and East 136th Street open and unobstructed,

marchers reasonably believed that the police wanted the march to proceed down 136th Street. There

were no officers at the intersection of Willis Avenue and East 136th Street telling marchers they

shouldn’t go down 136th Street or that they needed to disperse. Id. at ¶¶ 59, 63-66. With no

indication that the police had withdrawn permission for the march to proceed as it wished,

protesters turned onto East 136th Street. Id.

       After the march proceeded several hundred yards down East 136th Street, a squad of bike

officers rode down the north sidewalk of 136th, passing to the front of the march, and set up a

barricade of officers and bicycles at Brook Avenue (shown by the red X in the map above, Exhibit

3). Proposed Compl. ¶¶ 61-63. The highest-ranking uniformed officer in the NYPD, Chief of

Department Terence Monahan; the Commanding Officer of the 40th Precinct, Inspector Robert

Gallitelli; and the Commanding Officer of SRG 2, Captain Julio Delgado, along with

approximately fifty SRG foot officers and dozens of additional patrol officers and supervisors went

to East 136th Street and Brook Avenue. Id. ¶¶ 63, 70. Based on a bike officer’s body-worn camera



       1
          The time of day is established as follows: At timestamp 36:20 on the recording of the
radio transmissions, a “time check” is requested and the dispatcher responds that it is “1956,” or
7:56 p.m. The quoted transmission above, requesting Capt. Taylor to respond so that the police
can “block ’em in,” occurs six minutes earlier, at timestamp 30:35 of the recording. Therefore, the
quoted transmission took place at 7:50 p.m.
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(“BWC”) video, the marchers were stopped by the bike officers at 7:56 p.m. See Exhibit 6 at

00:01.2

          II.    The Arrests

          East 136th Street between Brown Place and Brook Avenue – where the protesters were

surrounded or “kettled” by police – is a hill that slopes down to Brook Avenue. It is a narrow street,

with about twenty feet between the parked cars. There is no way to leave in the middle of the

block; the only way in or out is from Brown Place or Brook Avenue.

          As protesters crossed Brown Place and reached Brook Avenue, they were stopped at the

bottom of the hill by the bike officers at the intersection with Brook Avenue. Proposed Compl.

¶¶ 61-64. Following behind the marchers were approximately 60 SRG foot officers and fifteen

white-shirted NYPD Executives – including the Commanding Officer of Patrol Borough Bronx,

the Chief of the Special Operations Bureau, the Chief in command of SRG, and other defendants.

Id. ¶ 63. The officers had encircled the march and kettled the protesters on East 136th Street, as

shown in the below screenshot, which is a still from a citizen video looking west on East 136th

Street toward Brown Place (further up the hill), taken from an upper floor of a building on the east

side of Brook Avenue, at the bottom, Exhibit 7:




          2
        The time appearing in the upper right corner of BWC video is set to Greenwich Mean
Time, which is four hours ahead of Eastern Daylight Time. Thus, 23:56 on the BWC video
corresponds to 19:56, or 7:56 p.m. in New York City in June.
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       The people kettled on East 136th Street were not permitted to leave. It was not yet 8:00 p.m.

and the curfew was not yet in effect. Proposed Compl. ¶¶ 64-65.

       After 8:00 p.m., an announcement was played several times over an NYPD Long-Range

Acoustical Device (“LRAD”). It said, in its entirety: “Beginning at 8:00 p.m. a citywide curfew

will be in effect. Other than essential workers, no person or occupied vehicles are permitted in

public or on city streets. Thank you for your cooperation.” Exhibit 8. There was no other

communication from the police before white-shirted NYPD Executives and SRG officers

advanced down the hill from Brown Place. Neither the recorded announcement nor any police

official told the people trapped in the kettle to disperse or go home. Even as police advanced, they

did not tell people that they were about to be arrested, or that they should put their hands behind

their backs to be cuffed. Exhibits 6-10.




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       The NYPD Chiefs, other Executive officers, and dozens of helmeted SRG officers who

advanced down the hill from Brown Place were equipped with pepper spray cannisters the size of

fire extinguishers, a “PepperBall gun,” and plexiglass shields, among other equipment. These

heavily armed officers descended on the peaceful protesters, pressing them toward the lines of bike

officers at the bottom of the hill at Brook Avenue. Proposed Compl. ¶¶ 69-71. Protesters were

indiscriminately pepper sprayed. Id. ¶¶ 54, 71, 96, 176. These events are captured on police and

citizen videos and BWCs. Exhibits 6-10.

       At the bottom of the hill, bike officers repeatedly shouted “move back” as they thrust their

raised bikes forward again and again into the people facing them. The crowd was crushed together

as people uphill recoiled from the onslaught of officers descending from above, while bike officers

several rows deep pushed people at the bottom of the hill with the line of bikes. But there was

nowhere for the trapped people to move because of the crush of people and police on all sides.

Exhibit 6 at 1:55; Exhibit 9 at 1:35. Officers kneeling on top of a parked car struck protesters with

batons and others indiscriminately pepper sprayed the crowd. Exhibit 10. After the assault and

arrests were finished, officers had detained approximately 300 people in flex-cuffs. Many of the

protesters were seriously injured. Proposed Compl. ¶¶ 77-78.




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               Screenshot from Exhibit 10 (P.O. Migliaccio pepper spraying from behind a car)

        Officers who were not involved in the assault were brought in to process “assigned arrests.”

Each officer was assigned two to five arrestees for processing, which took place at Mass Arrest

Processing Centers (“MAPC’s”) in Queens and Brooklyn, and at regular precincts in the Bronx.

Id. ¶¶ 50, 80.

        At first, arrestees were given summonses, but eventually an instruction was given to cease

issuing summonses and to process the remaining arrestees as Desk Appearance Tickets, thus

prolonging their detention. Proposed Compl. ¶ 88. Many people were not released until late the

next afternoon. Id. ¶ 85.

        III.      The NYPD’s Preparation for the Operation

        The NYPD’s Mott Haven operation was meticulously organized. The next day, Police

Commissioner Dermot Shea discussed the operation at a press conference and said: “We had a

plan which was executed nearly flawlessly in the Bronx.” Id. ¶¶ 50, 170.




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       The plan included a vast array of police resources. Over 700 officers were mobilized in

advance; Corrections Department buses and more than twenty NYPD arrest vans were assigned in

advance; Mobile Field Forces, consisting of squads of upwards of forty officers each, were arrayed

around the protest before it began; and dozens of officers were pulled from precincts all over the

City and sent to the Bronx for the sole purpose of being assigned arrestees for arrest processing.

Exhibits 11 and 12; Proposed Compl. ¶ 50.

       This battalion of officers was directed by no less than ten Chiefs who were present and

directly involved in effecting the arrests, including the highest ranking uniformed officer in the

Police Department, Chief of Department Terence Monahan.3




                                                                      Inspector Robert Gallitelli,

Commanding Officer of the 40th Precinct, which includes Mott Haven, was also a key participant

in the planning and execution of the police operation.




       3
         The Chiefs were Terence Monahan, Chief of Department; Kenneth Lehr, Commanding
Officer of Patrol Borough Bronx; Harry Wedin, Chief of the Special Operations Bureau; Robert
Lukach, Executive Officer of the Special Operations Bureau; John D’Adamo, Chief of the
Strategic Response Group; Raymond Spinella, Chief of the Special Services Bureau; Edward
Delatorre, Chief of the Transit Bureau; Joseph Gulotta, Executive Officer of Patrol Borough
Brooklyn North; Timothy McCormack, Chief of Bronx Detectives; and Raul Pintos, of Bronx
Borough Command.
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       Lehr and Gallitelli, who were Executives in the NYPD Patrol Services Bureau, not only

worked with Monahan; they planned and executed the police operation with the highest Executives

of the Special Operations Bureau, which contains SRG. The SRG units, including both bicycle-

mounted and foot officers, were assigned to make the initial seizure of protesters and to place them

in cuffs. They were supervised at the scene by the entire command structure of the Special

Operations Bureau – including Bureau Chief Harry Wedin; Chief of SRG John D’Adamo; and

Executive Officer of SRG Gerard Dowling (all named as defendants in the Proposed Complaint).

Patrol officers had been pulled from their regular precinct duties and pre-assigned to process the

arrests, or formed into Mobile Field Forces to supplement the SRG officers. Other support units

were assigned to have the arrest vans and buses at the ready. Proposed Compl. ¶ 50.

       Every police witness who has been asked at a deposition about the number of Chiefs and

Executives they saw in Mott Haven has testified that they saw more Chiefs and other high-level

NYPD Executives at the Mott Haven operation than at any other protest they policed that summer.

                                  PROCEDURAL HISTORY

       The original Class Action Complaint in Sierra et al. v. City of New York et al., No. 20-cv-

10291, was filed on December 7, 2020; and a First Amended Class Action Complaint was filed on

March 25, 2021. Dkt. 98. The original Complaint in Wood v. City of New York et al., No. 20-cv-

10541, was filed on December 14, 2020; a First Amended Class Action Complaint was filed on

March 25, 2021, Dkt. 100; and a Second Amended Class Action Complaint on August 26, 2021,

Dkt. 249. (The putative class in the First and Second Amended Complaints in Wood also

encompassed persons arrested and/or injured at protests other than Mott Haven. The class

definition in the Proposed Complaint is limited to Mott Haven arrestees only, consistent with the

proposed class definition in the initial Complaint and First Amended Complaint filed in Sierra.

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The interests of non-plaintiff protesters who were arrested and/or injured at protests other than

Mott Haven continue to be represented by counsel in other actions consolidated for discovery

within In re: New York City Policing During Summer 2020 Demonstrations.)

       The Sierra case was reassigned to this Court on February 4, 2021. Dkt. 30 in No. 20-cv-

10291. On February 22, 2021, the Sierra and Wood cases, along with several others, were

consolidated for discovery under In re: New York City Policing During Summer 2020

Demonstrations, 20-cv-8924 (CM) (GWG). All subsequent filings were made on the

consolidated docket, and all docket entries referenced in this memorandum going forward are to

the docket in No. 20-cv-8924.

       Discovery, as the Court is aware, has been substantially delayed by the City and by the

intervention by police unions. Only one deposition noticed by plaintiffs has taken place since

March 2022, due to the stay of depositions during the litigation concerning intervention and City

delay in scheduling depositions. Spiegel Decl. at ¶ 9. There have been dozens of motions

concerning the City’s failure to provide timely and complete discovery. In deciding plaintiffs’

motions, the Court has sanctioned the City multiple times for its repeated failures to comply with

the Court’s discovery orders.

       In addition to causing extensive delay, the City’s discovery responses have obfuscated the

specific and important information plaintiffs have sought. For instance, in response to plaintiffs’

interrogatories seeking the identities of the supervisors present during the Mott Haven operation,

the City gave piecemeal and incomplete responses, or no response at all. See Exhibit 14, at

Interrogatory Responses 7 to 11. When the City has produced documents, it has dumped hundreds

of thousands of pages without identifying by Bates number the documents plaintiffs specifically

requested. When Sierra plaintiffs’ counsel wrote in February 2022, requesting that the City

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identify specific Mott Haven-related documents by Bates number, the City never responded.

Exhibit 15; Spiegel Decl. at ¶¶ 4-7.

       The City’s persistent recalcitrance in identifying specific discovery, and the stay of

depositions, required plaintiffs’ counsel to expend hundreds of hours combing through the City’s

document dumps to identify the NYPD executives who were responsible for planning and

executing the Mott Haven operation. Many hours were needed to listen to CCRB and DOI

interview recordings and NYPD radio transmissions and to watch BWC and TARU video footage.

All of this was needed to understand what happened during the Mott Haven operation and to

determine the individuals who were responsible for it. Spiegel Decl. at ¶¶ 3, 8, 9.

       As recently as April 14, 2022, Sierra and Wood counsel had to file a motion for discovery

to obtain the identities of the bicycle-mounted officers who made the initial seizure of the crowd

at East 136th Street and Brook Avenue and production of their BWC video footage. After the City

steadfastly resisted the production of this obviously-discoverable material and forced plaintiffs to

make a motion before Magistrate Judge Gorenstein, the City later conceded the merits of the

application and stated that it would gather those materials – which should have been produced at

the outset of discovery over a year ago. As of the date of this motion, defendants have still not

identified the bike officers who made the initial seizure of the plaintiffs, nor produced all of the

BWC video. See Dkts. 491, 518, 642, 664.

       On March 16, 2022, Sierra counsel sent the City a proposed Second Amended Complaint

and proposed that the parties discuss a stipulation to file the pleading. That proposed pleading

tracked the Proposed Complaint herein insofar as it voluntarily dismissed the police officers who

had been assigned the arrests of the Sierra plaintiffs, and joined as defendants executive officers

in command of the Mott Haven operation.

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       On April 7, 2022, counsel for defendants responded:

                 We don’t think a meet and confer is necessary. Here’s our position:

              1. There were no John Does in the original complaint or in the first
                 amended complaint for you to replace them with individually named
                 defendants.

              2. Per Judge McMahon’s Order, the deadline to amend the pleadings
                 was over a year ago on March 5, 2021, so this proposed amended
                 complaint is not timely. (Dkt No. 34).

              3. Plaintiffs had the names of the individual defendants for a long time
                 so there’s no good cause for such delay.

              4. The statute of limitations have [sic] run on the state law claims and
                 therefore such claims are time-barred as to any newly added
                 defendants.

                 Based on all the above, defendants object to your proposed Second
                 Amended Complaint.

Exhibit 16.

       None of these objections has merit. The absence of “John Doe” defendants in the original

complaint is irrelevant; due to the City’s discovery delays, plaintiffs did not know until recently

the identity and role of the executive and supervisory officers they now seek to add; and the federal

constitutional claims against all of the proposed defendants are timely because less than three years

have passed since the June 4, 2020, Mott Haven protest. Accordingly, because defendants would

not stipulate, plaintiffs now seek leave to file their Proposed Complaint.

                                            ARGUMENT

       “The court should freely give leave [to amend] when justice so requires.” Fed. R. Civ.

P. 15(a)(2). Following this rule, courts have held that amendments should be permitted when the

party seeking leave to amend: “(1) has not unduly delayed; (2) is not acting in bad faith or with a

dilatory motive; (3) when the opposing party will not be unduly prejudiced by the amendment; and

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(4) when the amendment is not futile.” Romano v. Verizon Commc’ns, Inc., 01-CV-6737 (LMM),

2002 WL 1484403, at *1 (S.D.N.Y. July 10, 2002) (citing Foman v. Davis, 371 U.S. 178, 182

(1962)). “[T]he rule in this Circuit has been to allow a party to amend its pleadings in the absence

of a showing by the nonmovant of prejudice or bad faith.” AEP Energy Servs. Gas Holding Co. v.

Bank of Am., N.A., 626 F.3d 699, 725 (2d Cir. 2010).

       The five categories of changes contained in the Proposed Complaint meet these standards

for granting leave. The Proposed Complaint (i) joins the Sierra and Wood plaintiffs in one action

and consolidates the cases for all purposes, including motion practice and trial; (ii) adds as

defendants executive and supervising officers who were personally involved in the Mott Haven

operation, and identifies Chief Kenneth Lehr (who is already a named defendant in Sierra) and

Captain Julio Delgado (who is already a named defendant in Wood) as defendants in the newly-

consolidated case; (iii) removes Dermot Shea from the caption to conform with the Court’s

Memorandum Decision and Order of July 9, 2021 (Dkt. 191); and (v) dismisses defendants Umid

Karimov, Alfredo Jeff, Debora Matias, and Andre Jeanpierre from the Sierra case, and defendant

Ismael Hernandez Carpio from the Wood case – these being the officers who were “assigned” the

arrests of the named plaintiffs.

       The foregoing amendments fall squarely within the settled principles of Rule 15 (amending

pleadings), Rule 20 (joinder of parties), and Rule 42 (consolidation of actions). These amendments

will streamline the litigation by reducing the number of separate lawsuits; will avoid duplicative

and potentially conflicting motion practice; and will facilitate a single jury trial for the cases

seeking only monetary relief. The proposed amendments will cause no prejudice to the parties,

and instead, will promote justice by naming the proper defendants and dismissing other defendants



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who were not personally involved in plaintiffs’ arrests. Accordingly, good cause exists for granting

the Sierra and Wood plaintiffs leave to file the Proposed Complaint.

        I.      JOINING THE SIERRA AND WOOD PLAINTIFFS IN A SINGLE,
                CONSOLIDATED ACTION IS CONSISTENT WITH THE FEDERAL
                RULES OF CIVIL PROCEDURE, AND WILL PROMOTE EFFICIENT
                LITIGATION

        Federal Rule of Civil Procedure 20(a) permits plaintiffs to “join in one action . . . if: (A)

they assert any right to relief jointly, severally, or in the alternative with respect to or arising out

of the same transaction, occurrence, or series of transactions or occurrences; and (B) any question

of law or fact common to all plaintiffs will arise in the action.” Relatedly, Rule 42(a) permits the

Court to “consolidate” actions that “involve a common question of law or fact.”

        Joining the Sierra and Wood plaintiffs and consolidating their actions into a single, merged

action is appropriate and will promote efficient litigation. These cases are already consolidated for

discovery purposes, and no new legal claims have been added to the Proposed Complaint. Joining

the Sierra and Wood plaintiffs and consolidating their actions for all purposes will reduce the

number of summary judgment motions, class certification motions, in limine motions and other

pre-trial and post-trial motions – and the need to have two separate jury trials. Additionally,

merging these cases will reduce the number of class certification motions that the Court will need

to address, combining what would otherwise be competing proposed classes. Finally, joinder and

consolidation will not prejudice any of the other parties. Accordingly, the Court should grant

plaintiffs’ motion to join the Sierra and Wood plaintiffs into the same consolidated action.




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       II.     PLAINTIFFS SHOULD BE PERMITTED TO JOIN THE PROPOSED
               DEFENDANTS WHO WERE PERSONALLY INVOLVED IN PLANNING,
               COMMANDING, AND EXECUTING THE MOTT HAVEN OPERATION,
               AND DISMISS THOSE DEFENDANTS WHO WERE NOT PERSONALLY
               INVOLVED

       Rule 15(a)(2) provides that “[t]he court should freely give leave [to amend] when justice

so requires.” Rule 20(b) provides that defendants “may be joined in one action . . . if: (A) any right

to relief is asserted against them jointly, severally, or in the alternative with respect to or arising

out of the same transaction, occurrence, or series of transactions or occurrences; and (B) any

question of law or fact common to all defendants will arise in the action.” Both rules are satisfied

by allowing plaintiffs to join as defendants those NYPD officers who were personally involved in

the underlying claims and dismissing those defendants who were not personally involved.

       A. The Proposed New Defendants Were Personally Involved in the Incidents Alleged.

       Discovery has revealed that the proposed newly-joined defendants, identified here in bold,

were personally involved in the underlying claims in this case: along with Chief of Department

Terrence Monahan and Assistant Chief Kenneth Lehr, Inspector Robert Gallitelli, the

Commanding Officer of the 40th Precinct; Bureau Chief Harry Wedin, the Commanding Officer

of the NYPD Special Operations Bureau; Deputy Chief John D’Adamo, the Commanding

Officer of the Strategic Response Group; Deputy Chief Gerard Dowling, the Executive Officer

of the Strategic Response Group.

       These proposed defendants planned and personally directed and supervised over 700 police

officers engaged in carrying out the NYPD’s operation in Mott Haven. They personally

participated in planning meetings at the 40th Precinct and other locations in Mott Haven on June 4,

2020 prior to and during the NYPD’s Mott Haven operation; and they were directly and personally



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involved in seizing, assaulting, and arresting plaintiffs and other people on East 136th Street

between Brook Avenue and Brown Place. Proposed Compl. ¶¶ 28-54; 61-64; 70-80.

       Sergeant Kenneth Rice, an attorney assigned to the NYPD Legal Bureau, advised Lehr,

Wedin, D’Adamo, and Dowling, among others, that there was probable cause to arrest the people

encircled on East 136th Street; Rice also personally participated in assaulting and arresting them.

Id. ¶¶ 28-53, 64-66, 69-73, 80. Police Officer John Migliaccio indiscriminately sprayed the group

of trapped people with pepper spray, and pepper sprayed Plaintiff Ricardo Nigaglioni in the face,

blinding him. Id. ¶¶ 54, 70-71, 113, 126.

       Assistant Chief Kenneth C. Lehr is already a named defendant in the Sierra First

Amended Complaint, Dkt. 98 (which survived defendants’ Rule 12(b)(6) motion); and Captain

Julio Delgado was added as a defendant in the Wood Second Amended Complaint on consent of

defendants, Dkt. 249. Plaintiffs seek to maintain each as a defendant in the consolidated Proposed

Complaint.4

       B. Defendants Without Personal Involvement Should Be Dismissed.

       In contrast to the proposed new defendants, existing defendants Umid Karimov, Alfredo

Jeff, Debora Matias, and Andre Jeanpierre from the Sierra case, and Ismael Hernandez Carpio

from the Wood case, were not personally involved in violating plaintiffs’ constitutional rights.

Depositions of those officers revealed that they were all merely “assigned” the arrests of the

plaintiffs – meaning these officers did not personally detain or apprehend the plaintiffs, but merely




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 Both Sierra and Wood named the City of New York, Bill de Blasio, and Terence Monahan as
defendants, and all three remain as defendants in the Proposed Complaint. In addition,
defendants Thomas Garguilo and Thomas Mosher, who used force against plaintiff Wood, were
named in the Wood complaint, and remain named as defendants in the Proposed Complaint.
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processed the paperwork related to each plaintiff’s arrest. Since discovery has revealed that these

officers were not culpable for the plaintiffs’ arrests, they should be dismissed from this litigation.

       C. The Allegations Against the Proposed Defendants State a Claim for Relief.

       The allegations concerning the proposed defendants state claims for relief under 42 U.S.C.

§ 1983. The Court’s decision on the City’s Rule 12(b)(6) motion – in particular, its discussion of

the claims against Chief of Department Monahan and Mayor de Blasio – is instructive:

               Plaintiffs have pleaded facts tending to show Chief Monahan’s personal
       involvement in police activity at two of the protest events. They allege that he was
       present at and personally led the NYPD’s response to the June 4 protest in Mott
       Haven, where he personally directed officers to kettle, subdue and arrest protesters.
       They also allege that Chief Monahan personally approved the mass use of pepper
       spray against protesters at the Barclays Center on May 29, 2020. Those allegations
       raise an inference of his personal involvement in alleged violations of Plaintiffs’
       rights.
               ....
               The Attorney General and the Payne, Wood, and Sierra plaintiffs have also
       stated a claim against Mayor de Blasio, insofar as they allege that he was personally
       involved in the development of the tactics employed by the NYPD that they allege
       to be unconstitutional. He allegedly admitted to having seen videos of the clashes
       between police and protesters and had personnel present at several of the protests.
       They further allege that he personally approved the strategies employed by the
       NYPD beginning during the June 3 and June 4 protests . . . . This gets the plaintiffs
       past a motion to dismiss. Whether this claim against the Mayor survives a motion
       for summary judgment after discovery remains to be seen.

Dkt. 191 at 32 (citations omitted).

       This same analysis applies to the allegations concerning the proposed defendants. Since

the allegations in the Proposed Complaint state claims against the proposed defendants, the

amendments should be permitted. See Foman, 371 U.S. 178, 182 (1962) (“If the underlying facts

or circumstances relied upon by a plaintiff may be a proper subject of relief, he ought to be afforded

an opportunity to test his claim on the merits.”); Romano, 2002 WL 1484403, at *1 (“An

amendment is considered futile if the amended pleading fails to state a claim or would be subject


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to a motion to dismiss on some other basis.” (citing McNally v. Yarnall, 764 F. Supp. 853, 855

(S.D.N.Y. 1991)).

        D. There Is No Other Reason to Deny Amendment.

        Defendants will not be prejudiced by the proposed amendments, and their refusal to

stipulate to those amendments (Exhibit 16) is as mystifying as it is meritless.

        First, it is unclear why defendants’ counsel would not stipulate to dismissing existing

Sierra defendants Karimov, Jeff, Matias, and Jeanpierre. There is no good reason for keeping them

as defendants when discovery has revealed their lack of personal responsibility for the underlying

constitutional violations at issue.

        As for the proposed defendants, contrary to the City’s suggestion, there is no statute of

limitations problem. The events at issue occurred two years ago and the statute of limitations for

the federal claims that plaintiffs intend to bring against the proposed defendants in the Proposed

Complaint is three years. See Pearl v. City of Long Beach, 296 F.3d 76, 79 (2d Cir. 2002). The

Proposed Complaint makes clear that plaintiffs are not seeking to assert state law claims against

the proposed additional defendants individually.

        Nor is there merit to the City’s contention that the current motion is untimely because the

Court’s original scheduling order set March 5, 2021 as the deadline for amendments, see Dkt. 34.

The Court’s March 5, 2021 deadline to amend the pleadings was imposed with the understanding

that discovery would be well underway by then. In reality, defendants had not produced a single

page of discovery by that date. Indeed, by the end of May 2021, it had produced only 1,000

documents. Not a single NYPD email was produced until December 10, 2021. Nearly a quarter of

defendants’ entire document production to date was produced in 2022.



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       Only a handful of depositions have taken place thus far. Counsel for the Sierra/Wood

plaintiffs thus far have had the opportunity to depose only one high-ranking police witness

involved in the Mott Haven operation, and that witness arrived after the initial seizure had taken

place. In the absence of depositions, the process of determining the details of the Mott Haven

operation and the identities of the NYPD leadership who planned and executed the operation has

been long and difficult. While the names of several of these individuals were produced earlier,

they were “produced” in document dumps where their names appear on individual documents.

Spiegel Decl. at ¶¶ 2-9; Frick Decl. at ¶¶ 2-13. The link between the newly-named defendants and

their involvement with the Mott Haven operation is the result of plaintiffs’ own investigations. In

an operation involving over 700 officers, ten NYPD Chiefs, and dozens of Inspectors and Captains,

determining the key decision-makers in command – without sworn testimony -- has been a

challenge. Spiegel Decl. at ¶¶ 2-9; Frick Decl. at ¶¶ 4-13.

       Accordingly, the City’s argument that Plaintiffs acted with any “delay” in seeking leave to

add these individuals as defendants is wrong. As this Court is well aware, the City has engaged in

vexatious discovery tactics throughout this litigation and has been sanctioned repeatedly for it.

Indeed, the City’s lead attorney was terminated from the New York City Law Department for

making misrepresentations about the City’s compliance with the Court’s discovery orders. See

Dkt. 523. Plaintiffs have acted with all available diligence to pursue and ultimately obtain the

discovery needed, and to review that discovery, to connect the individuals now sought to be named

with their conduct during the Mott Haven operation.

       For example, on October 8, 2021, the Sierra plaintiffs served their Third Set of

Supplemental Discovery Requests requesting, among other things, the identities of the supervisory

chain of command of the NYPD bike squads that made the initial seizure of the plaintiffs; the chain

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of command of the police units that were pre-assigned to arrest vans and Corrections buses; the

chain of command of the SRG units that participated in the arrest and handcuffing of the protesters

on East 136th Street; and the chain of command of the police units that were pre-assigned to take

assigned arrests for processing. Exhibit 14, Defendants’ Responses and Objections to Plaintiffs’

Third Set of Supplemental Discovery Requests, at Interrogatories 7 to 11); Spiegel Decl. at ¶ 5.

       The only substantive response defendants provided to the interrogatories seeking this

information referred plaintiffs to a production that contained more than 12,000 documents (which

brought the total produced by the City at that point to nearly 119,000). Exhibit 14 at p. 5. There

was no obvious organization to the documents produced and no Bates number index was provided.

This has also been true of all subsequent document productions by the City, which now total well

over fifty formal productions and more than 213,900 documents. Spiegel Decl. at ¶ 6.

       On February 23, 2022, Mr. Spiegel, one of the Sierra plaintiffs’ counsel, wrote the City

defendants a discovery deficiency letter, Exhibit 15; the letter was prepared in anticipation of

production by the City of a chart showing the status of all of defendants’ responses to all discovery

requests by all plaintiffs in the Consolidated Cases. The City’s chart had been ordered by

Magistrate Judge Gorenstein (Dkt. 410). In the letter, the Sierra plaintiffs provided the City a

detailed list of insufficient responses to discovery requests, and demanded that the responses

identify Bates numbers for the documents being produced. The City did not respond to the letter,

and did not provide Bates numbers in the chart they produced. Spiegel Decl. at ¶ 7.

       Identifying the NYPD leadership who planned and executed the Mott Haven operation

required plaintiffs’ counsel to expend hundreds of hours reviewing video from police BWC; videos

created by the NYPD’s Technical Assistance and Response Unit (“TARU”); citizen video

collected by the Civilian Complaint Review Board (“CCRB”); police radio transmissions; and

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hundreds of thousands of documents produced by the City, plus thousands more collected by the

CCRB. Spiegel Decl. at ¶¶ 3, 8.

       Thus, there is no merit whatsoever to the City’s argument that “Plaintiffs had the names of

the individual defendants for a long time so there’s no good cause for such delay.” Exhibit 16.

While some of the names of these individuals were produced earlier, some names have never been

produced, and the involvement of these proposed defendants in the underlying constitutional

violations was shrouded by the City’s discovery tactics and the absence of depositions.

       Thus, there is good cause to allow these amendments now, because depositions have not

taken place yet, and the City obfuscated and prevented plaintiffs from learning the identities and

involvement of the proposed defendants in the underlying constitutional violations. See Duino v.

CEM W. Vill., Inc., 18-CV-10249 (CM), 2020 WL 3249214, at *3 (S.D.N.Y. June 16, 2020)

(“[B]ecause Plaintiff was not in possession of the full facts when he first filed the suit, and it was

after discovery that Plaintiff learned that [the proposed defendant] might be as liable as [the

existing defendant], Plaintiff did not delay unreasonably in joining [the new party] as a defendant”

(quotation marks and alterations omitted) (quoting Ambac Assur. Corp. v. EMC Mortg. Corp., 08-

CV-9464 (RMB) (THK), 2011 WL 566776, at *3 (S.D.N.Y. Feb. 8, 2011)).

       But even if plaintiffs could have discovered the roles of these defendants a few months

earlier, defendants are not prejudiced by the amendment, which should end the discussion. In

determining whether to allow an amendment, courts consider “relevant factors including, in

particular, whether allowing the amendment of the pleading at this stage of the litigation will

prejudice defendants.” Kassner v. 2nd Ave. Delicatessen Inc., 496 F.3d 229, 244 (2d Cir. 2007).

Thus, courts routinely permit even delayed amendments, so long as the other side faces no

prejudice. E.g., CAC Atl., LLC v. Hartford Fire Ins. Co., 16-CV-5454, 2017 WL 3149340, at *4

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(S.D.N.Y. July 25, 2017) (permitting amendment even where moving party “did not demonstrate

the diligence ordinarily required by Rule 16(b)” since other party faced “no significant prejudice”).

       Here, defendants face no prejudice whatsoever. All proposed defendants have already been

noticed for depositions; many of them were included in the high-level list of deponents the parties

had scheduled before depositions were stayed in March. Allowing the amendment places no

further discovery burden on defendants.

       The Proposed Complaint is a good faith effort by the plaintiffs to focus their claims on the

NYPD officials who orchestrated and commanded the NYPD’s Mott Haven operation. The three

“line officers” who are included as defendants are officers who assaulted and injured named

plaintiffs. The Proposed Complaint reflects a considered effort to focus and amend the complaint

to conform to the evidence revealed in discovery, which is precisely what Rule 15 contemplates.

See G&E Real Estate, Inc. v. Avison Young-Washington, D.C., LLC, 14-CV-418 (CKK), 2018 WL

4680199, at *2 (D.D.C. Sept. 28, 2018) (“One basis for seeking amendment may be to conform

the operative complaint to the evidence produced during discovery.”) (citing Fed. R. Civ. P.

15(b)(2) (“A party may move—at any time, even after judgment—to amend the pleadings to

conform them to the evidence and to raise an unpleaded issue.”)); U1it4less, Inc. v. Fedex Corp.,

11-CV-1713, 2014 WL 12779775, at *10 (S.D.N.Y. Dec. 15, 2014) (“Plaintiff is entitled to make

its proposed housekeeping amendments to conform its complaint to what it has learned in

discovery.”).




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                                         CONCLUSION

       Because good cause exists for the proposed joinder, consolidation, and amendments; no

prejudice will ensue; and defendants have offered no legally-sound opposition, the Court should

grant the Sierra and Wood plaintiffs’ motion for leave to file the Proposed Complaint.

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